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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                                                    Case No. 17- 60016-TP-DIMITROULEAS
  UNITED STATES OF AMERICA,

             Plaintiff,

  vs.

  DEAN LUCAS,

        Defendant.
  _________________________________/

                                                        ORDER

             THIS CAUSE came before the Court upon Defendant’s pro se July 21, 2017 Motion for

  Judicial Recommendation [DE-15].                 The Court, in another case, previously has received a

  December 15, 2015 response from the Government [DE-411 in 12-20386CR]. The Court agreed

  with the Government’s response. 1 The Motion [DE-15] is Denied.

             DONE and ORDERED in Chambers, at Fort Lauderdale, Broward County, Florida this

  7th day of August, 2017




  Copies furnished to:
  Counsel of Record
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      The Bureau of Prisons is in the best position to determine the length of RRC placement.
